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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

COOK INLET TRIBAL COUNCIL, INC.,     )
3600 San Jeronimo Drive              )
Anchorage, Alaska 99508,             )
                                     )
                      Plaintiff,     )
       v.                            ) Case No. ______________
                                     )
CHRISTOPHER MANDREGAN, JR.,          )
Director, Alaska Area Office,        )
U.S. Indian Health Service,          )
4141 Ambassador Drive, Suite 300     )
Anchorage, AK 99508,                 )
                                     )
       and                           )
                                     )
ALEX AZAR,                           )
Secretary, U.S. Department of Health )
& Human Services,                    )
200 Independence Avenue, S.W.        )
Washington, D.C. 20201,              )
                                     )
                                     )
                      Defendants.    )
____________________________________ )

                                       COMPLAINT

       Plaintiff Cook Inlet Tribal Council, Inc., by and through its attorneys Sonosky,

Chambers, Sachse, Endreson & Perry, LLP, complains and alleges as follows:

                                  I.     INTRODUCTION

       1.       Pursuant to the Indian Self-Determination and Education Assistance Act

(ISDEAA), Cook Inlet Tribal Council (CITC) operates certain federal substance-abuse programs

under a contract with the Indian Health Service, an agency within the U.S. Department of Health

and Human Services. On October 5, 2017, the Secretary of Health and Human Services (“the
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Secretary”) declined CITC’s proposed contract amendment under which CITC would be paid

certain “contract support costs” for overhead associated with these programs (the “declination

finding”).

       2.       The overhead costs at issue are costs for the facility where CITC’s in-patient and

outpatient services are provided (“facility support costs”). These are costs for facilities such as

an addiction treatment center. The Secretary admits that facility support costs are a proper

reimbursable cost that can be paid through contract support costs under the ISDEAA. At the

same time, the Secretary claims that because the Secretary already paid CITC a small amount of

these costs as part of the program funding he paid CITC, the Secretary is under no obligation to

pay CITC the balance of these costs. The Secretary’s rejection of the proposal that he pay

CITC’s remaining facility costs is contrary to law because the ISDEAA commands that the

Secretary “shall add” to any ISDEAA contract the “full” amount of a contractor’s contract

support cost requirement. 25 U.S.C. § 5325(g).

       3.       The Secretary’s “declination finding” was issued pursuant to 25 U.S.C. §

5321(a)(2).    The ISDEAA’s remedial provisions specially authorize this Court to order

“immediate injunctive relief to reverse a declination finding under section 5321(a)(2).” See 25

U.S.C. § 5331(a).      CITC now seeks an immediate injunction to reverse the Secretary’s

declination finding and to order the Secretary to award CITC the additional facility support costs

to which CITC is entitled by law.

                                     II.    JURISDICTION

       4.       This Court has jurisdiction over this action pursuant to 25 U.S.C. § 5331(a) of the

ISDEAA and 28 U.S.C. § 1331.




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                                          III.    PARTIES

         5.       Cook Inlet Tribal Council, Inc. is headquartered in Anchorage, Alaska. CITC is

the Alaska Native tribal health organization designated to provide health care services to

beneficiaries of Indian Health Service programs in the Anchorage Area. CITC qualifies as a

“tribal organization” under 25 U.S.C. § 5304(l).1 CITC is organized as a not-for-profit Alaska

corporation. CITC’s Board is controlled by representatives of the following eight federally-

recognized Tribes: the Chickaloon Village Traditional Council, the Native Village of Eklutna,

the Kenaitze Indian Tribe, the Knik Tribal Council, the Ninilchik Traditional Council, the

Salamatof Tribal Council, the Seldovia Village Tribe, and the Native Village of Tyonek.

         6.       Alex Azar is the Secretary of the U.S. Department of Health and Human Services

(HHS). Secretary Azar exercises authority delegated to him by Congress to carry out the

ISDEAA.

         7.       Christopher Mandregan, Jr. is the Area Director of the Indian Health Service

(IHS) Alaska Area Office, one of 12 IHS regional offices.             IHS is an agency within the

Department of Health and Human Services.               Area Director Mandregan exercises authority

delegated to him by the Secretary, through the IHS Director, to carry out the Secretary’s

responsibilities under the ISDEAA and other applicable law.

         8.       As used throughout this Complaint (and unless context commands otherwise), the

terms “Secretary,” “HHS,” “IHS,” and “Area Director” are used interchangeably.




1
    Unless otherwise noted, all statutory references are to Title 25 of the United States Code.


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                        IV. FACTS AND GENERAL ALLEGATIONS

       A.       The Indian Self-Determination and Education Assistance Act’s Contracting
                and Declination Process

       9.       The ISDEAA was enacted to end “the prolonged Federal domination of Indian

service programs [that] has served to retard rather than enhance the progress of Indian people

and their communities by depriving Indians of the full opportunity to develop leadership skills

crucial to the realization of self-government.” § 5301(a)(1). The ISDEAA sought to achieve this

goal by “establish[ing] . . . a meaningful Indian self-determination policy which will permit an

orderly transition from the Federal domination of programs for, and services to, Indians to

effective and meaningful participation by the Indian people in the planning, conduct, and

administration of those programs and services.” § 5302(b).

       10.      To execute this goal, the Act mandates that “upon the request of any Indian tribe

by tribal resolution” to operate certain agency programs, “the Secretary is directed . . . to enter

into” the requested contract with the tribal organization, subject to various terms and conditions.

§ 5321(a)(1).

       11.      Under the Act, a tribal organization “may submit a proposal for a self-

determination contract or a proposal to amend or renew a self-determination contract.”           §

5321(a)(2). This action concerns a proposal to amend a self-determination contract to add

certain funding to the contract.

       12.      Under section 5321(a)(2)(D), when a tribal organization submits a proposal to

amend an existing self-determination contract to add a proposed amount of funding, within

ninety days of receiving the proposal the Secretary must “approve the proposal and award the

contract [amendment] unless the Secretary provides written notification . . . that contains a

specific finding that clearly demonstrates that, or that is supported by a controlling legal



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authority that . . . the amount of funds proposed under the contract is in excess of the applicable

funding level for the contract, as determined under section 5325(a).” The process of declining to

award a funding amount that has been proposed by a tribal organization is called a declination.

25 C.F.R. §§ 900.20-.33.

       B.      The Indian Self-Determination and Education Assistance Act’s Contract
               Funding Provisions

       13.     Section 5325(a) contains the Act’s key funding provisions and establishes the

minimum amount of funds to be paid to a tribal organization contracting under the Act. In

subsection 5325(g), the ISDEAA directs that “[u]pon the approval of a self-determination

contract, the Secretary shall add to the contract the full amount of funds to which the contractor

is entitled under [§ 5325(a)].” The model contract in the ISDEAA effectuates these funding

provisions by incorporating an “annual funding agreement” under which the Secretary must

“make available to the Contractor . . . not . . . less than the applicable amount determined

pursuant to [§ 5325(a)].” § 5329(c) (Model Agreement, § (b)(4)).

       14.     Section 5325(a) contains two funding mandates. First, section 5325(a)(1) directs

IHS to pay “not . . . less than the . . . Secretary would have otherwise provided for the operation

of the programs . . . covered by the contract.” This funding is the “Secretarial amount” and

represents “the amount the Secretary would have expended had the government itself [continued

to] run the program.” Arctic Slope Native Ass’n v. Sebelius, 629 F.3d 1296, 1298–99 (Fed. Cir.

2010), vacated on other grounds, 567 U.S. 930 (2012). Second, section 5325(a)(2) mandates

that to the Secretarial amount “[t]here shall be added . . . contract support costs.”

       15.     “Contract support costs” generally include two categories of costs. First, they

include additional “direct costs, such as workers’ compensation insurance” for certain added

contractor costs that are directly supportive of the programs funded with the Secretarial amount.



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Cherokee Nation of Okla. v. Leavitt, 543 U.S. 631, 635 (2005) (citing § 5325(a)(3)(A)(i)).

Second, they include additional “indirect administrative costs, such as special auditing or other

financial management costs.” Id. (citing § 5325(a)(3)(A)(ii)); see also § 5304(f) (defining

“indirect costs”).

       16.     IHS generally determines these additional “indirect administrative costs” by

reference to a tribal contractor’s “indirect cost rate.” § 5304(g); IHS, Indian Health Manual

[hereinafter IHM], pt. 6, § 3.2E(1) (nonbinding agency “CSC Policy”). An indirect cost rate is

calculated by a tribal contractor’s “appropriate Federal agency,” § 5304(g), also called its

“cognizant agency,” 2 C.F.R. § 200.19. Generally speaking, an indirect cost rate is the product

of dividing (a) all of a contractor’s pooled overhead (or administrative) costs by (b) the entire

direct cost base for all programs that are supported by those pooled overhead costs. 2 C.F.R. pt.

200, App’x VII, § C(2)(A). Government contractors routinely employ indirect cost rates to

account for their expenditure of federal funds. Rumsfeld v. United Techs. Corp., 315 F.3d 1361,

1363 (Fed. Cir. 2003).

       17.     IHS generally calculates its payment of indirect contract support costs by

multiplying the amount of IHS program funding it pays a tribal contractor—that is, IHS’s portion

of the direct cost base that is supported by the contractor’s pooled administrative costs—by the

contractor’s indirect cost rate. IHM § 6-3.2E(1). The resulting amount is subject to being

reduced if any indirect contract support cost payment would duplicate an amount IHS already

paid a contractor as part of the Secretarial amount.        IHM § 6-3.2E(3)-(4); see also §

5325(a)(3)(A) (duplication provision); S. Rep. No. 103-374, at 9 (1994) ( “In the event the




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Secretarial amount under [§ 5325(a)(1)] for a particular function proves to be insufficient in light

of a contractor’s needs for prudent management of the contract, contract support costs are to be

available to supplement such sums.”).

          C.    CITC’s Contract History

          18.   Since 1992, CITC has contracted with IHS under the ISDEAA to operate various

federal health care programs mostly related to substance-abuse treatment and recovery services.

          19.   Since fiscal year (FY) 1996, CITC has operated its federal IHS programs pursuant

to Contract No. XXX-XX-XXXX (“Contract”). The Contract states that “[e]ach provision of the

[ISDEAA] and each provision of the Contract shall be liberally construed for the benefit of the

Contractor . . . .” See Contract, § (a)(2). The ISDEAA contains an identical provision and

requires that all ISDEAA contracts contain this language. See § 5329(c) (Model Agreement, §

(a)(1)(2)); see also Salazar v Ramah Navajo Chapter, 567 U.S. 182, 187 (2012) (quoting §

5329(c)).

          20.   The Contract includes CITC’s annual funding agreements, which describe the

programs CITC will operate and the funding CITC will receive. CITC’s funding agreements are

incorporated in their entirety into the Contract. See Contract, § (b)(15)(F)(2)(B).

          21.   CITC first contracted with IHS in 1992. At that time, CITC submitted a proposal

to IHS seeking funds to provide “Primary Residential Treatment at the Alaska Native Alcohol

Recovery Center.” CITC, Alaska Native Alcoholism Recovery Center Technical Proposal, at 2

(1992).     In addition to residential treatment, CITC also proposed to continue and improve

“[a]ftercare services to reduce relapse potential and prevent continuing alcoholism and drug

abuse” among the people it serves. Id. Finally, CITC proposed to provide “[c]ulturally-relevant

treatment to achieve the greatest possible improvement in the over[]all health status and quality




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of life of the Alaska Native people” whom CITC serves. Id. IHS approved and awarded CITC

the proposed contract. CITC’s proposed Secretarial amount budget was for $150,000, and within

this amount CITC budgeted $6,051 for facilities funding and $5,787.50 to fund a portion of a

facilities coordinator’s salary.   CITC, Alaska Native Alcoholism Recovery Center Business

Proposal, at 2 (1992). These CITC-budgeted items totaled $11,838.50 in facilities-related costs.

       22.     In 1992, the overall scope of CITC services supported by the contract with IHS

was limited, and primarily covered supplemental recovery services. By 2017, CITC’s IHS-

funded contract services covered a full continuum of care including assessment, brief

intervention, residential treatment, outpatient treatment, prisoner re-entry assistance and day

treatment models, constituting one of the most extensive continuum-of-care recovery programs

available anywhere in the State of Alaska.

       23.     The final Secretarial amount that IHS paid CITC under CITC’s 1992 contract was

$185,034.    See Letter from Christopher Mandregan, Area Director, IHS, to Amy Fredeen,

Executive Vice President, CITC, at 7 n.5 (Oct. 5, 2017) [“Declination Letter”]. At no time since

1992 has IHS ever paid any funding to CITC under CITC’s Contract identified as “facility,”

“facilities,” “space,” or similar funds classification. All of IHS’s payment documents to CITC

under the Contract, from 1992 to the present, show $0 paid in annual “facility,” “facilities,”

“space,” or similar funds classification.

       24.     CITC’s programs have greatly expanded since it first contracted with IHS in

1992. In addition to the Alaska Native Alcohol Recovery Center (renamed the Ernie Turner

Center), CITC now operates a number of outpatient facilities. In FY 2017, IHS paid CITC the




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sum of $2,762,003 in Secretarial amount funding. Declination Letter at 7 n.5. This amount is

roughly 15 times the size of the treatment programs CITC originally contracted from IHS in FY

1992.

        25.    In FY 2017, CITC’s indirect cost rate was based (among other costs) on a

budgeted $829,704 in pooled facility costs (called “space lease” costs) to carry out all of CITC’s

programs, including programs funded by IHS and programs funded by other agencies (such as

the Department of the Interior’s Bureau of Indian Affairs). Of this total amount, IHS calculated

that $489,386 in facilities costs are allocable to IHS. See Declination Letter at 7 n.4; id. Exh. 10,

at 1. This allocation reflects IHS’s computation that IHS’s portion of the direct cost base is

58.983% of the total direct cost base supported by CITC’s indirect cost pool, making IHS

responsible for 58.983% of each component of CITC’s indirect cost pool. Id. IHS calculated

that “IHS programs were associated with $489,386 of CITC’s reported $829,704 in [indirect]

space lease cost[s] for FY 2017.” Id.

        26.    In the facts giving rise to this action, IHS has refused to add to the Contract the

foregoing $489,386 in indirect contract support costs. Id. at 9.

        D.     The Disputed Indirect Contract Support Cost Requirement

        27.    By letter dated July 12, 2017, as subsequently adjusted by letter dated September

18, 2017, CITC proposed that IHS pay CITC the sum of $489,386 2 as IHS’s share of CITC’s

pooled facility costs for FY 2017. CITC agreed to a duplication offset of $11,838.50 against this

amount, but no more.




2
 Although CITC’s original calculation came to $489,466, IHS’s recalculation came to $489,386.
For purposes of this action, CITC accepts IHS’s recalculation of the agency’s share of CITC’s
pooled facility costs. See ¶ 25, supra.


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          28.   By letter dated October 5, 2017, IHS declined to add the contested funds to

CITC’s Contract. IHS made two principal assertions. First, IHS asserted that the $11,838.50

CITC budgeted in 1992 for facility costs, and which IHS paid to CITC in 1992 as part of the

Secretarial amount, had increased over the years to “at least $157,814” in FY 2017. IHS made

this assertion by pointing out that the total value of the Contract had increased from 1992 to

2017. See Declination Letter at 7 n.5. Second, IHS asserted that CITC was in any event not

entitled to facility support costs because facility costs are “normally” paid by IHS out of its direct

operation of a program. Id. at 8. On these twin grounds, Mr. Mandregan concluded that “the

amount of funds proposed under the contract is in excess of the applicable funding level for the

contract.” Id. at 1 (quoting § 5321(a)(2)(D)).

          29.   CITC’s pooled facility (space) costs were actually incurred and were prudent and

reasonably necessary to carry out the client treatment programs covered by CITC’s Contract with

IHS. At no time did IHS’s declination letter allege that the subject facility (space) costs were not

actually incurred by CITC. At no time did IHS’s declination letter allege that the subject facility

(space) costs were not prudent to carry out the client treatment programs covered by CITC’s

Contract with IHS. At no time did IHS’s declination letter allege that the subject facility (space)

costs were not reasonably necessary to carry out the treatment programs covered by CITC’s

Contract with IHS.

                               V. CAUSE OF ACTION
   (Failure to Award Contract Amendment For Additional Facilities Support Funding)

          30.   CITC incorporates all previous allegations of fact and law into this Cause of

Action.

          31.   This action challenges IHS’s refusal to pay $489,386 in administrative facility

support costs based upon the wrongful assertion that to pay such costs would entirely duplicate



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amounts IHS already paid CITC. The Secretary’s ISDEAA regulations provide that facility costs

can be paid for “under [§ 5325(a)] as direct or indirect charges to a self-determination contract,”

25 C.F.R. § 900.73 (emphasis added), and in FY 2017 (as in FY 2016) CITC proposed that IHS

cover these costs as indirect costs.

       32.     In any civil action challenging the Secretary’s declination of a proposed contract

amendment, the ISDEAA provides that “the Secretary shall have the burden of proof to establish

by clearly demonstrating the validity of the grounds for declining the contract proposal.” §

5321(e)(1) (emphasis added).

       33.     The Secretary cannot carry this high burden of proof to defend the validity of his

declination finding. The claimed $489,386 does not duplicate the Secretarial amount. IHS has

never identified any portion of the Secretarial program amount it paid CITC as facility support

funding. The closest document in the record is a budget document prepared by CITC in 1992

proposing to spend $11,838.50 that year out of the Secretarial amount on facility costs. Today,

26 years later, the parties agree that CITC’s facility costs allocable to the IHS Contract totals

$489,386. The $11,838.50 CITC budgeted out of the 1992 Secretarial amount is the only sum

that IHS has paid toward those facility costs. That amount was and remains today wholly

insufficient for CITC to prudently manage its Contract with IHS in 2017. The amount sought in

the contract amendment for 2017 does not entirely duplicate whatever IHS paid in 1992 toward

facility costs as part of the Secretarial amount. See § 5325(a)(3); S. Rep. No. 103-374, at 9.

       34.     The facility costs CITC requested do not exceed the “applicable funding level” for

the contract under subsections 5325(a)(2) and (3) because CITC is entitled to receive funding for

“facilities support costs to the extent not already made available.” IHM § 6-3.2D(1)(e). At most

only $11,838.50 has been made available to CITC for facilities costs, and CITC has already




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accounted for that credit in its funding proposal. Letter from Gloria O’Neill, President & CEO,

CITC, to Christopher Mandregan, Area Director, IHS, at 1 (Sept. 18, 2017). Therefore, CITC is

entitled to the balance of the $489,386 in facilities costs allocable to CITC’s Contract with IHS.

Under section 5325(g) of the ISDEAA, this amount must by law be added in “full” to CITC’s

contract because “[u]pon the approval of a self-determination contract, the Secretary shall add to

the contract the full amount of funds to which the contractor is entitled under [§ 5325(a)].”

       35.     IHS has failed to satisfy the burden of proof it carries under section 5321(e)(1) to

justify the rejection of CITC’s contract proposal for additional facility support funds. IHS has

failed to “clearly demonstrat[e] the validity” of the proffered justifications set forth in Mr.

Mandregan’s decision declining to award the $489,386 at issue.

       36.     The Area Director alleged that facilities support costs had already been provided

“as part of CITC’s program base” (i.e., as part of the Secretarial amount).            Letter from

Christopher Mandregan, Area Director, IHS, to Amy Fredeen, Executive Vice President, CITC,

at 2 (July 7, 2014). But, the Area Director never clearly demonstrated precisely what portion of

the $150,000 paid under the original 1992 Contract covered facility costs. Nor did he clearly

demonstrate precisely what portion of the sums paid in 2017 covered facility costs. Instead, the

Area Director referred to a Business Proposal created by CITC in 1992 when CITC first sought

to contract for these funds. The Secretary cannot lawfully take an amount placed by a tribal

contractor’s budget into a category, claim that category as its own, and then unilaterally declare

that the agency has over the years increased that category of funding simply because total

program funds have increased over time.




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       37.     Put differently, the Secretary cannot successfully carry his burden by claiming

that, since facility costs budgeted in 1992 totaled $11,838.50, and because mathematically that

sum equals 7.888% of CITC’s total 1992 contract with IHS, all future funding paid to CITC

implicitly includes 7.888% in facility funding.

       38.     The Secretary also cannot successfully carry his burden by arguing that if a cost

were “normally” paid by IHS out of its direct operation of a program, then such a cost is never

eligible for payment as an item of contract support costs. The position is absurd because it

would mean that the Secretary need not actually have paid any sums toward a particular cost in

any given contract, so long as he makes the case that the agency “normally” would have paid that

cost out of IHS’s program budget.        It also would render meaningless the ISDEAA’s no-

duplication provision, § 5325(a)(3), a provision which only makes sense if there exist potentially

overlapping categories of costs between the Secretarial amount and the contract support cost

amount. That is, if there were never common and overlapping categories, there would never be a

risk of duplication and the statutory provision would be meaningless.

       39.     IHS has acted unlawfully in failing to award CITC’s proposed contract

amendment for additional indirect contract support costs. Mr. Mandregan has not “clearly

demonstrate[ed] the validity of the grounds for declining the contract proposal.” § 5321(e)(1).

       40.     The ISDEAA confers upon a tribal contractor a special statutory right to

immediate injunctive relief to reverse a declination finding and to compel the Secretary to award

and fund an approved self-determination contract, including mandamus to compel a United

States officer or agency to perform a duty provided under the ISDEAA. § 5331(a). Because an

injunction is specially authorized by statute, the factors applicable to equitable injunctions (such

as relative balance of harms and the public interest) do not apply.




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          41.    IHS’s refusal to award CITC’s proposed contract amendment to add additional

funds to cover IHS’s share of CITC’s administrative (or indirect) facility costs is contrary to law.

CITC is entitled to immediate injunctive relief directing the Secretary to award the contract

amendment as proposed and to award CITC $489,386 in additional contract support cost

funding.

                                  VI.    RELIEF REQUESTED

          WHEREFORE, the Cook Inlet Tribal Council prays that this Court grant the following

relief:

          A.     A declaratory judgment that the Secretary acted in violation of the ISDEAA by

declining to approve and award CITC’s contract amendment for additional indirect contract

support costs;

          B.     An immediate injunction compelling IHS to enter into the proposed contract

amendment awarding CITC additional indirect contract support cost funds in the amount of

$489,386, and to compel the immediate payment of these funds;

          C.     Costs and attorneys’ fees incurred in pursuing these claims, including the appeal

before this Court, as provided for under the Equal Access to Justice Act, 5 U.S.C. § 504; 25

U.S.C. § 5331(c); 28 U.S.C. § 2412, and other applicable law; and

          D.     Such other monetary, declaratory and equitable relief as this Court may find to be

equitable and just.

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Respectfully submitted this 19th day of March 2018.

                                    SONOSKY, CHAMBERS, SACHSE,
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